Case 2:04-cr-20384-SH|\/| Document 76 Filed 06/23/05 Page 1 of 2 Page|D 72

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

 

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UNI'I`ED STATES OF AMERICA, * '….c.~i.' i.< US. C;:`. T. C`?.

VJB OF`H€, HHMPHE
Plaintiff, *

v. * Cr. NO. 04-20384 D
HECTOR POLENDO, *
Defendant. *
ORDER

 

I'I` IS HEREBY ORDERED THAT:
CONSIDERING THE Motion to Continue field by the Defendant, the

Hearing ON THE Motion to Suppress and Report Date is continued and

re-Set for the fz*k day of jij§% , 200:; at oz:&Oéhahq::j§)

THUS ORDERED THIS,ZO"`day of , 2005 at Memphis,

Tenne e.

UNITE| STATES JllGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:04-CR-20384 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

